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                                  4                                  UNITED STATES DISTRICT COURT

                                  5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                  7      STRIKE 3 HOLDINGS, LLC,
                                                                                        Case No. 19-cv-00190-PJH
                                  8                    Plaintiff,

                                  9             v.                                      ORDER GRANTING LEAVE TO
                                                                                        SERVE THIRD-PARTY DISCOVERY
                                  10     JOHN DOE SUBSCRIBER ASSIGNED
                                         IP ADDRESS 71.198.36.99,                       Re: Dkt. No. 6
                                  11
                                                       Defendant.
                                  12
Northern District of California
 United States District Court




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                                  14          Before the court is plaintiff Strike 3 Holdings, LLC’s (“Strike 3”) motion for Leave to

                                  15   Serve a Third-Party Subpoena Prior to a Rule 26(f) Conference. Dkt. 6. The matter is

                                  16   fully briefed and suitable for decision without oral argument. Having read the papers and

                                  17   carefully considered the arguments and the relevant legal authority, and good cause

                                  18   appearing, the court hereby GRANTS plaintiff’s motion as follows.

                                  19          “In the Ninth Circuit, courts use the ‘good cause’ standard to determine whether

                                  20   discovery should be allowed to proceed prior to a Rule 26(f) conference. Good cause

                                  21   may be found where the need for expedited discovery, in consideration of the

                                  22   administration of justice, outweighs the prejudice to the responding party.” UMG

                                  23   Recordings, Inc. v. Doe, No. C 08-1193 SBA, 2008 WL 4104214, at *4 (N.D. Cal. Sept. 3,

                                  24   2008) (collecting cases). “[T]here is no prejudice where the discovery request is narrowly

                                  25   tailored to only seek [a defendant’s] identity.” Id. “In Internet infringement cases, courts

                                  26   routinely find good cause exists to issue a Rule 45 subpoena to discover a Doe

                                  27   defendant's identity, prior to a Rule 26(f) conference, where a plaintiff makes” certain

                                  28   showings. Id. (citations omitted) (collecting cases granting leave to take early discovery).
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                                  1           “District courts in this [Ninth] circuit have developed a four-part test for determining

                                  2    when to allow early discovery. Under the test applied in Columbia Insurance Co. v.

                                  3    seescandy.com[,185 F.R.D. 573, 575 (N.D. Cal. 1999)], the moving party must: ‘(1)

                                  4    identify the defendant with enough specificity to allow the Court to determine whether the

                                  5    defendant is a real person or entity who could be sued in federal court; (2) recount the

                                  6    steps taken to locate the defendant; (3) show that its action could survive a motion to

                                  7    dismiss; and (4) file a request for discovery with the Court identifying the persons or

                                  8    entities on whom discovery process might be served and for which there is a reasonable

                                  9    likelihood that the discovery process will lead to identifying information.’” Ebates, Inc. v.

                                  10   Does, No. 16-CV-01925-JST, 2016 WL 2344199, at *1 (N.D. Cal. May 3, 2016) (quoting

                                  11   SBO Pictures, Inc. v. Does 1-3036, No. 11-4220 SC, 2011 WL 6002620, at *2 (N.D. Cal.

                                  12   Nov. 30, 2011)).
Northern District of California
 United States District Court




                                  13          Plaintiff has established that “good cause” exists for it to serve a third-party

                                  14   subpoena on defendant’s internet service provider, Comcast Cable Communications,

                                  15   LLC (“Comcast”). As such, Strike 3 may serve Comcast with a Rule 45 subpoena

                                  16   commanding Comcast to provide Strike 3 with the name and address of the defendant to

                                  17   whom Comcast assigned the IP address set forth in the complaint—71.198.36.99.

                                  18   Plaintiff shall attach to any such subpoena a copy of this order. This order does not

                                  19   authorize plaintiff to serve any third-party other than Comcast with a Rule 45 subpoena.

                                  20   Plaintiff may only use the information Comcast discloses in response to the subpoena to

                                  21   litigate this action, and for no other purpose.

                                  22          For the foregoing reasons, plaintiff’s motion is GRANTED, subject to the

                                  23   provisions of this order.

                                  24          IT IS SO ORDERED.

                                  25   Dated: February 8, 2019

                                  26                                                 __________________________________
                                                                                     PHYLLIS J. HAMILTON
                                  27                                                 United States District Judge
                                  28
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